    Case 3:13-cr-00723-DMS        Document 186        Filed 04/15/14     PageID.714         Page 1 of 1
                            UNITED STATES DISTRICT C~~~~----______~
                          SOUTHERN DISTRICT OF CALIF RNIAF'                        I LED

UNITED STATES OF AMERICA,                            CASE NO. 13C 72 ­
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                                                                          CLERK. U.S. DIStRICT COURT
                                                                       SOUTHERN DISTRICT OF      IFORNIA
                            Plaintiff,                                 BY                        EPUTY
                  vs.                                JUDGMENT OF DISMISSAL
JUPP DUSTIN LIBBY (3),

                            Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been   led in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

__
 X__ the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

___
  X _ of the offense(s) as charged in the Information:



     21 :846 and 841 (a)(1); 21 :853 - Conspiracy to Manufacture and Distribute Marijuana


     and Criminal Forfeiture


            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.




 DATED: 4/10/2014
                                                      Mitchell D. Dembin
                                                      U.S. Magistrate Judge
